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                      EXHIBIT 7
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                                         Webex Audio?
                                         Sounds good.
                                        All audio solutions are not created equal.




https://hardware.webex.com/use-cases/webex-audio                                               1/18
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     What sets Webex Audio apart?
     By eliminating common challenges like echo, background noise, and distorted sound, Webex Audio minimizes the
     fatigue and mental strain that can occur after a long stretch of video conferences. Providing a best-in-class
     experience with just one goal in mind: to make your remote meetings sound as clear and natural as an in-person
     conversation.


     Webex Audio goes the distance: it sounds just as good at the end of an all-day meeting as it does when you kick
     off the call.


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     Focus on sound
     The Focus on Sound video series explains the basics of room acoustics and sound in video conferencing to help
     you sound your best and get your message across. Being aware of the video system’s microphones and
     loudspeakers, room acoustics, and noise sources in the room, allows you to optimize your setup.




     Episode 1 - Room acoustics and video conferencing
     Learn the basics of room acoustics and sound in video conferencing and find out how you can improve your
     working environment.


     Watch the video


     Read the blog post




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     Episode 2 - Sound great in every call
     Learn the basics of loudspeakers and microphones in video conferencing systems, and how Webex audio
     features improve your meeting experience.


     Watch the video


     Read the blog post




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            Why does quality audio matter more than ever?

       Because great sound is way more than just a feature: it’s one of the foundations of a strong hybrid workforce.
       Clear audio facilitates a culture of participation, inclusion, and productivity. Webex Audio ensures that meeting
                     attendees feel inclined to speak up and contribute their ideas, wherever they are.




     Discover all Webex features to
     level up your audio experience
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     Webex Automatic Gain Control (AGC)




     Webex Noise Removal




     Optimize for My Voice




     Webex Full Duplex




     Webex Spatial Audio




     Webex Music Mode




     Webex Beamforming Microphones




     Webex Full-Band Audio




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     Webex Automatic Gain Control (AGC)
     In face-to-face and video meetings alike, some voices are naturally louder, whilst others are softer. What they
     have in common is that every voice counts. Webex AGC picks up sound beautifully, whether you’re leaning back
     in a conference room chair or sitting in front of the desk in your home office. There is immense value in multiple
     perspectives, and Webex AGC provides equal levels for all voices, so everyone gets their say.




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     Webex Noise Removal
     Whirring espresso machines. Barking dogs. And of course, noisy neighbours. Today, not all business happens in a
     conference room. More and more work is done outside a traditional office setting, and modern workers need
     technology that helps them stay focused. Webex Noise Removal intelligently detects and minimizes distracting
     sounds, so you and your team can concentrate on collaboration. Moreover, de-reverberation reduces the sound
     reflections in the room to deliver the best sound possible. This results in crisper and clearer audio for folks at the
     far end.




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     Optimize for My Voice
     Optimize for My Voice is an advanced noise-cancelling feature that supresses all background noise, including
     background voices, so only your voice can be heard speaking in your meetings.


     Work from a lively office or a boisterous work-from-home environment without having to worry about background
     voices disturbing your presentation. With Optimize for My Voice, you can communicate clearly and productively in
     your daily meetings without worrying about office chatter or household noise getting in the way.


     Wherever you work, Optimize for My Voice puts your voice in the spotlight. Which is exactly how it should be.

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     Webex Full Duplex
     Spark lively discussion with Webex Full-Duplex, a two-way communication technology that enables multiple
     meeting participants to speak at once, rather than relying on static interaction. Full-Duplex is needed anywhere
     an animated real-time discussion is best, and our Acoustic Echo Cancellation (AEC) prevents you hearing an echo
     of your own voice. Webex Full-Duplex technology encourages transparent, natural conversations and enables
     seamless multi-participant communication that will keep the discussion moving.




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     Webex Spatial Audio
     Hear them where you see them. Webex Spatial Audio provides aural cues that guide your attention to the person
     speaking: you hear the person’s voice coming from the loudspeaker nearest their image on the screen.
     Understand the flow of the conversation in dynamic meetings—and create a more natural experience—with Webex
     Spatial Audio.




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     Webex Music Mode
     Any meeting with a musical component requires a well-tuned technology like Webex Music Mode. From remote
     music lessons to a casual concert for colleagues, Webex Music Mode ensures that sounds ring out clear and true.
     Musicians and their instruments go seamlessly from the garage to center stage with Webex Music Mode.




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     Webex Beamforming Microphones
     Webex Beamforming Microphone technology ensures that you catch all the details of your next meeting. This
     feature enables focused sound pickup where it counts, like the voices of your meeting’s participants, while
     softening noises that interfere with your message.




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     Webex Full-Band Audio
     Make meeting communication effortless with a more natural, full-spectrum sound. The loudspeaker and
     microphone systems in our devices deliver the full breadth and depth of the sonic experience. With Webex Full-
     Band Audio, remote sound quality is on par with a face-to-face conversation. Full-Band Audio brings out the best
     in other signature Webex features, like Music Mode and Spatial Audio. From rich, distortion-free lows to crisp,
     clear highs, Webex Full-Band Audio captures and reproduces every detail of your meeting.




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           Ready to discuss your hybrid work device
           needs?
           Let us know how we can help you become better equipped to embrace the future of hybrid work.



               Contact our representatives




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        Get started for free.
        Additional features, storage, and support start at just one low price.




                                                      Start for Free




                                                   See Plans & Pricing




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        Small Business                                                                          




        Enterprise                                                                              




        Devices                                                                                 




        Solutions For                                                                           




        Resources                                                                               




        Company                                                                                 




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